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16

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18                                   UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
20                                       SAN FRANCISCO DIVISION
21
     JAMES LATHROP, JONATHAN                            CASE NO. 14-CV-05678-JST
22   GRINDELL, SANDEEP PAL, JENNIFER
     REILLY, and JUSTIN BARTOLET on behalf              STIPULATION OF VOLUNTARY
23   of themselves and all others similarly situated,   DISMISSAL

24                          Plaintiff,

25          v.

26   UBER TECHNOLOGIES, INC.,

27                          Defendant.

28


     STIPULATION OF VOLUNTARY DISMISSAL — LATHROP ET AL. V. UBER TECHNOLOGIES, INC. – CASE NO.
                                         14-CV-05678-JST
           Case 3:14-cv-05678-JST Document 250 Filed 08/11/17 Page 2 of 2


1           Pursuant to F.R.C.P. 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs James
2    Lathrop, Jonathan Grindell, Sandeep Pal, Jennifer Reilly, and Justin Bartolet (“Plaintiffs”) and
3    Defendant Uber Technologies, Inc. (“Defendant”), by and through their respective attorneys of
4    record, stipulate and agree as follows:
5           Plaintiffs and Defendant hereby stipulate to dismiss all claims Plaintiffs asserted in this action
6    without prejudice. The parties have reached a settlement of both this lawsuit and another TCPA
7    lawsuit against Defendant, Vergara v. Uber Technologies, Inc., Case No. 15-CV-6942 (N.D. Ill.).
8    The active complaint in Vergara has been amended to include Plaintiffs’ claims and the parties have
9    moved for preliminary approval of the settlement in the Vergara court. See Vergara Dkt. Nos. 81-86.
10

11   Dated: August 11, 2017
12                                                 TYCKO & ZAVAREEI, LLP
13

14                                                 By: /s/ Hassan Zavareei
                                                                    Hassan A. Zavareei
15

16                                                 Attorneys for Plaintiffs
17   Dated: August 11, 2017
18                                                 GIBSON, DUNN & CRUTCHER LLP
19

20                                                 By: /s/ Austin Schwing
                                                                      Austin Schwing
21

22                                                 Attorneys for Defendant
23

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     STIPULATION OF VOLUNTARY DISMISSAL – LATHROP ET AL. V. UBER TECHNOLOGIES, INC. – CASE NO.
                                         14-CV-05678-JST
